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The individual on the left is Ibn-ul-Khattab, Commander-in-Chief of the Foreign Mujahideen
Brigade loyal to the Islamic Army of the Caucasus. In the center is Shamil Basayev, :
Commander-in-Chief of the Islamic Army of the Caucasus. And to the right is Abu al-Walid al-
Ghamidi, successor to Khattab as Commander-in-Chief of the Foreign Mujahideen Brigade
after Khattab was assassinated in March 2002

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Tuesday 25 July 2000 An Attempt To Capture Mujahideen Is Foiled=20
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A fierce battle broke out in the Yermluvka region. By the Grace of Allah, t=
he Mujahideen were slaughtering the enemy battalion. When the time came for=
the Mujahideen to return to their bases, the enemy managed to surround thr=
ee of the Mujahideen. At which point, their brothers came to their help, de=
stroyed the siege, and returned to fighting again. Following this escalatio=
n, six enemy soldiers were killed and more injured. During the battle one M=
ujahid was martyred and two were injured. We ask Allah to accept the first =
as a martyr in the highest levels of paradise and hasten the recovery of th=
e injured.=20

\ . 7
Assassination Warfare: Where Do The Russians Turn To Now?=20

The Russian forces in Vedeno were shocked by the assassination of three of =
their intelligence officers. This operation seems to have finished off what=
ever spirits they had. There is constant anxiety due to the Mujahideen pres=
ence all around them. What type of assault will be served next? How will th=

e next group of sorry soldiers be exterminated? Ambush, martyr operation, a=
nother assassination, or full fledged assault? Maybe all. Where does the en=
emy turn to when they don't even trust their own hypocrite local supporters=

2=20
Enemy Bases In Grozny Under Steady Attack=20

Charges and lightning attacks against enemy bases and security checkpoints =
in the capital followed one another last night. Some went on until midnight=
_The results are: a severe damage to the bases, losses in machinery. and li=
ves, and countless injuries, too numerous to be counted by the Mujahideen.=

=20

The crippled Russian artillery commenced its indiscriminate shelling of the=
village of Pitrobaviavka which resulted in some civilian injury and damage=
to civilian homes.

Monday 24 July 2000 10 OMON Troops Burnt Out in Their Vehicle=20

In the village of Atki, Commander Yaqub's battalion tracked one URAL Cargo =
Military Vehicle carrying 10 OMON soldiers. As the vehicle approached the M=

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Abu Dhar At-Ta’ifi (Abdullah At-Thubaitey, Saudi Arabia), may Allah have Me=
rcy on him, earned his martyrdom as a result of a composite mine. He favour=
ed his brothers to himself as he ordered them to distant themselves, so tha=

t they wouldn't be hurt. May Allah have mercy on him, he was the finest Muj=
ahid. He devoted his life to Allah. We believe as such and we do not elevat=

e anyone beyond their rank defined by Allah. We will have a glimpse of him =
at a later date Inshaa-Allah. May Allah have mercy on you dear brother and =

accept you as a martyr.=20
Explosion, Destruction and Casualties

In Neger-Yurt, the Mujahideen blew up one Kamaz Truck and one Russian milit=
ary vehicle, which resulted in the killing and injuring of 12 Russian soldi=

ers. The offensive did not last very long. By the Grace of Allah, all the M=
ujahideen returned safe and sound to their bases.=20

They Couldn't Find the Mujahideen, So they Shelled the Village

The Russian Air Force shelled a village in Vedeno killing two women and des=
troying one home.=20

Where Are those So-called "Human Rights"?

A group of Russian soldiers arrested four civilians. Two were strangled unt=
il they lost consciousness. Another had his feet fired upon as he screamed,=
“I'm not one of the fighters!". The barbaric soldier replied "It is enough=

that you are a Muslim!". O Muslims! Do you not then understand?=20

In another village, a band of OMON police officers ravished the civilian re=
sidents, terrorized the innocent and robbed all their valuables. So where a=

re those so-called "Human Rights"?

O Soldiers of Satan! More surprises are on the way. The Mujahideen are prep=
aring more surprises that will bring smiles to the faces of the true believ=

ers and anguish to the unbelieving atheists. What is happening nowadays is =
merely the groundwork for what is to come. For the Mujahideen have sworn to=
destroy the Russians, and by the Will of Allah, their promise will be fulf=

illed.

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ujahideen, they opened fire using RPGs and machine guns until the vehicle w=
as completely burnt out without a single survivor, By the Grace of Allah, t=
he battalion returned victorious and safe to their bases.=20

Eight Enemy Bases Are Pounded in Grozny=20

Russian forces acknowledged attacks against eight of their bases in Grozny =
resulting in severe losses. While they may claim (or dream) of having contr=
ol of the situation, this is clear evidence in the contrary.=20

Refuting the Latest Russian Propaganda

There was no Russian assault on Vedeno. It is another lie in a failed attem=

pt to cover it's own embarrassing defeats and severe losses. The Russian co=
mmand claimed that an assault was executed on Mujahideen bases in Vedeno.
D=

uring this phantom assault, the enemy claims that 12 Arab Mujahideen were k=
illed and three more were taken prisoners. This apparent fabrication is not=
hing more than another chapter in the series of dreams and hallucinations o=

f the enemy propaganda machine as a result of their beaten command. No batt=
le even took place in this region. Maybe this was an attempt of the enemy f=
orces to cover their one humiliating defeat after another attempting to occ=

upy this peak where in the last failed attempt 22 enemy soldiers perished a=
nd the remaining simply ran away from the battle.=20

Furthermore, how many times did they announce killing Field Commanders
Sham=

il Basayev, Arbi Barayev, Arsan, Akha, and other commanders? Once, they eve=
n claimed killing 200 Mujahideen in a single battle. Not to mention a count=
less number of other lies. Such fabrications should be fully expected from =
the Russian command. They hope that such lies would boost the defunct spiri=
ts of their forces, maybe alleviate the pain and suffering of the people ba=

ck home. Recently, the Russians made a claim of uncovering documents and
ma=

ps detailing the Mujahideen plan to retake the major Chechen towns. They se=
em to have forgotten that the Mujahideen are local people, who live in thes=

e towns. Do they need maps to show them the ins and outs of their own neigh=

bourhoods?=20
The Truth Behind Russian Claims of Having An Arab Prisoner=20

He was at home with his Chechen wife, and not with the Mujahideen. He was p=
ermanently stationed in his hometown. One of the local hypocrites informed =
the enemy forces about him hoping for a reward. A number of enemy soldiers =
headed towards the Arab's house accompanied by the hypocrite, who was

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ME NEWSLETTER

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DHUL-Q'’IDAH 1420 [February 2000]

JIHAAD

oy
Sr. A. Mosher

The term Jihaad is almply an isleamic legal term meaning fighting in the way of Allash In ordar to
establish a jut system which upholds the taws of Sharea’

‘ah and seaks to realize the alms of ilaam
on earth.

During the period of Qur-sanic revelation Muslims were instructed to:

P| Hold back their hands (trom fighting) and establish regular prayers. 427

The Muslims of that ern patiently and ob: fof d this inj inspite of the fact that thay
had to endure toribie Persecution for their new belief. It was witdom from

Allaah, for the arty Musilma
Needed to build a strong foundation of faith trom which to face ad external obstacles and forcas.

Years later, when the M ta Mad from: tnetr faiths and numbers had
increased and they dwetied in a city to make a stance (fom. Permission was given to fight in sett
det in sats oP and human rights,

Yo those against whem war is mads, permission fs giver (lo fight) because thay are
Wronged...and verity Allaah is Mast Powerful far their aid, 22:39 .

Then another condition was added to the inj

of self + defarise of thelr bellefs and
Principles.

Fight nt the cause Of Allaah those who fight you, but do not wansgress limits; tor Allaah oven
Hat the transgressors, 2190

This second condition of Jihaad is unique compared to other wars in history. Most wars simed at
2 or goals for a spaeciic person or Group. The goal of this second step in
Jinaad was betef: the fighting for Atash’s religion.

arene believe light a the cause of Allaah, end those who tajece talth hgh? in the cause of
av 4:76

if the reason for Jihaad Stopped here, by indicating that Jinaad was defensive in nature and attack was.
used only as 2 means of defending the tslaarmnic State from its powertul enemies, then Jingad would
seem tow TH But Jihaad doesn't atop here.

The third stage came when Muslims were orderes to fight the unbelievers and to initiate the fighting:

ang fight them unti there fs 20 more and relig 2 Allaats’s in ite entirety.
8:39

Fighting prescribed upon you and you dlelike te But tt 4 possible that you disttke € thing
which lt good fer you, 2216 .

Thus. Jinaad is @ religious obligation in Isiaam, Rts alm is to fight
b.

oppression and injustice and to
which the spread of islaam. This Ie ig eiiher by g or
Gestroying the di A i

va 80 that Muaiims can Prevent anyone from
Perzeculing their brother Muatina wherever they may be,

There are numerous laws regulating Jinaad. The Prophet Muhammad {sallallaho “alam wa sallam) is
reported to have said: “Fight in the name of Altaah and i the way of Allaah. Go on ralbitary
expeditions but do not Plunder. Bo not break your pledge, nor mutilate, mor kill
chiidren,.." fhadeeth}

islaam prohi t ism, kid: ping, h. ing women, children, and the eidory. i forbids vandallam
of chvifian bulidings, cutting down trees, as wall as other forme of environmental destruction, isteam
commands its followers to stand and fight bravely in the force of the enemy but never condones war
tactics that involve suicide missions.

‘The distorted connection of Jihad and forcin:

ig belief on peopte "by the sword’ la incorrect, It is true that
the rute of Isiaam was spread over vast area:

through Jihaad yat isisam prohibits coercion of bellet.
There ts to be no computsion in feligton, tAS-Quraan 2:266)

pe are free to ‘aither choose tstanm or to remain followers of
whatever faith they hotd. So what will explain the spread Of Ialsamic bellet among these people?
Men's hearts were pulled by fony principles and by the moral excelfence and non-aggressive rule
Sisplayed hy the lustines. This is the secret behind the spread of Islaam and the trus victory of its
forces when the... .

TeGlON becomes Aliaah's i tes entirety.” [AlQurasn 83a}

TEDITOR) (FEATURE) [OUR AANI TAQEEDAH) SURNAM DAW ALL {SIGTER'S PENS) FATAAWAI (GL OBEARY}

“And fight them until there is no more
persecution and religion becomes
Allaah’s in its entirety. 8:39”

“Fighting is prescribed upon you and
you dislike it. But it is possible that

you dislike a thing which is good for
you. 2:216”

“Thus, Jihaad is a religious obligation in
Islaam. Its aim is to fight oppression and
injustice and to remove obstacles which
prevent the spread of Islaam. This is
accomplishing either by weakening or
destroying the disbelieving prevalent
political powers so that Muslims can
prevent anyone from persecuting their
brother Muslims wherever they may be.”

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—--- Original Message -——--
From: s-elfeki

To: haramain
Sent: Sunday, February 20, 2000 03:53 a

Subject: Confirmation
Dear Brothers

Al-Salamu Alaikom.
May Allah bless your efforts supporting our muslim brothers everywhere.

In regard to our previous correspondence, I have the pleasure informing you that I have already
asked my bank in London to make a transaction to your USA account, using the details you
provided in an earlier e-mail, as Zakat in order to participate in your nobel support to our
muslim brothers in Chychnia, and here are the transaction details. J

Donation made by Dr. Mahmoud Talaat El-Fiki
From his account in Nation Bank of Kuwait (Intenational) Pic. - London
To your account in Bank of America

Transferred amount WS$150.000 (A Hundred & Fiftv Thousand US Dollars) ~ an
Value 24/2/2000

What I am asking you to do, is to kindly:

1) Confirm that this amount would be used as ZAKAT

2) Inform me by e-mail as soon as you get the transaction

3) Send me a letter (omginal document from ur establishment) confirming that the

US$150,000 donation has been received as Zakat from Dr. Mahmoud Talaat E]-Fiki.

Our mailing address is:

4 Ibn Kathir St. - Off Nile St.
Suez Canal Tower - 24/1
12311 Dokki

Giza - Cairo

Egypt

Please contact for any further details.
Your cooperation will be highly appreciated.
All the Best & Al-Salamu Alaikom Wa Rabmatu Allah.

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EXHIBIT

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